                 IN THE COURT OF APPEALS OF NORTH CAROLINA

                                         No. COA19-1028

                                     Filed: 1 September 2020

Cumberland County, No. 19 JA 72

In the Matter of: V.M.




      Appeal by respondent-mother from orders entered 22 May 2019 and 6 August

2019 by Judges Tiffany M. Whitfield and Cheri Siler-Mack, respectively, in

Cumberland County District Court. Heard in the Court of Appeals 10 June 2020.


      Cumberland County Department of Social Services, by Michael A. Simmons,
      for petitioner.

      Benjamin J. Kull for respondent-mother.

      Alston &amp; Bird LLP, by Ryan P. Ethridge, for the Guardian ad Litem.


      YOUNG, Judge.


      Respondent-mother appeals from the trial court’s order adjudicating V.M.

(“Vinny”)1 neglected under N.C. Gen. Stat. § 7B-101(15) and ordering respondent-

mother and respondent-father (collectively, “respondent-parents”) to submit to

random drug screens. After careful review, we reverse and remand.




      1   A pseudonym is used to protect the juvenile’s identity and for ease of reading.
                                      IN RE: V.M.

                                   Opinion of the Court



                                    I. Background


      This action arises out of a Cumberland County Department of Social Services

(“DSS”) report concerning Vinny, who was admitted to the hospital with a blood

alcohol level of 179 and diagnosed with acute alcohol intoxication.      Respondent-

parents are the biological parents of Vinny, who was four months old at the time of

the incident at issue. The events leading up to the incident are as follows.

      Respondent-mother is a stay-at-home mom and the primary caretaker of

Vinny. In January 2019, respondent-mother took Vinny with her to Atlanta, Georgia

for an aunt’s funeral. Respondent-father was unable to accompany them on the trip

due to a work conflict. Following the funeral service on Friday, 25 January 2019,

respondent-mother and other family members gathered at a cousin’s house, which

had a full bar. While there, some members of the family began drinking. Respondent-

mother and her brother, Domico, did not participate in the drinking, but were present

in the home while the drinking took place. At some point, some of the family members

who were drinking, including respondent-mother’s sister Selenia, transferred the

liquor into water bottles. Respondent-mother, Vinny, and Domico later spent the

night at an Airbnb with Selenia.

      The next morning, the group returned to their cousin’s home to pick up their

grandmother, who was going to ride back to North Carolina with Domico, respondent-

mother, and Vinny. Before leaving, Domico grabbed some water bottles that he


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                                  Opinion of the Court



believed were unopened from the kitchen counter of their cousin’s home. During the

car ride back to North Carolina, respondent-mother fed Vinny formula that she

prepared using one of the water bottles. Domico testified that throughout this process

he did not detect the smell of alcohol in the car. Vinny subsequently became fussy.

Despite respondent-mother’s attempts to console him, Vinny remained fussy even

after they arrived home. Throughout all relevant times, Vinny was primarily in the

care of respondent-mother.

      Respondent-mother took Vinny to the hospital the next morning, where doctors

determined he had alcohol in his system and diagnosed him with acute alcohol

intoxication. After speaking with his sister about the situation, Domico smelled the

water bottle respondent-mother had used to prepare Vinny’s formula and detected an

odor of alcohol. Domico then realized he must have mistakenly grabbed one of the

water bottles containing liquor from their cousin’s house, which respondent-mother

later used to prepare Vinny’s formula. The matter was referred to DSS, and Vinny

was temporarily placed in the care of his paternal grandparents on 29 January 2019.

Respondent-parents cooperated with DSS and worked to satisfy the agency’s

requirements.

      On 18 February 2019, DSS filed a juvenile petition alleging that Vinny was

neglected, dependent, and abused. DSS also made an ex parte request for non-secure

custody of Vinny. The trial court denied this request, with the requirement that



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Vinny remain placed in the care of his paternal grandparents. On 22 May 2019, the

trial court adjudicated Vinny to be a neglected juvenile but dismissed the allegations

of abuse and dependency. The trial court also ordered that Vinny be returned to the

care of respondent-parents and required respondent-parents to submit to two random

drug screens. On 12 June 2019, the trial court held a full dispositional hearing. The

trial court found that there were no safety concerns with respondent-parents, and on

6 August 2019, ordered that Vinny remain in the home of respondent-parents. The

trial court further ordered that respondent-parents submit to additional random drug

screens, following their admission that if tested that day they would test positive for

marijuana. Respondent-mother timely filed notice of appeal on 5 September 2019.

                                II. Standard of Review

      “The role of this Court in reviewing a trial court’s adjudication of neglect . . . is

to determine ‘(1) whether the findings of fact are supported by “clear and convincing

evidence,” and (2) whether the legal conclusions are supported by the findings of

fact[.]’ ” In re T.H.T., 185 N.C. App. 337, 343, 648 S.E.2d 519, 523 (2007) (quoting In

re Gleisner, 141 N.C. App. 475, 480, 539 S.E.2d 362, 365 (2000)), aff’d as modified,

362 N.C. 446, 665 S.E.2d 54 (2008). “If such evidence exists, the findings of the trial

court are binding on appeal, even if the evidence would support a finding to the

contrary.” Id. “We review a trial court’s conclusions of law de novo.” In re J.R., 243

N.C. App. 309, 312, 778 S.E.2d 441, 443 (2015).



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                                   Opinion of the Court



                                     III. Analysis

      In her first assignment of error, respondent-mother contends that the trial

court erred in adjudicating Vinny a neglected juvenile. We agree.

      Pursuant to N.C. Gen. Stat. § 7B-101(15) (2019), a neglected juvenile is:

          Any juvenile less than 18 years of age . . . whose parent,
          guardian, custodian, or caretaker does not provide proper care,
          supervision, or discipline; or who has been abandoned; or who
          is not provided necessary medical care; or who is not provided
          necessary remedial care; or who lives in an environment
          injurious to the juvenile’s welfare . . . .

“In general, treatment of a child which falls below the normative standards imposed

upon parents by our society is considered neglectful.” In re Thompson, 64 N.C. App.

95, 99, 306 S.E.2d 792, 794 (1983). However, not every act of negligence on part of

the parent results in a neglected juvenile. In re Stumbo, 357 N.C. 279, 283, 582

S.E.2d 255, 258 (2003). “In order to adjudicate a juvenile neglected, our courts have

additionally ‘required that there be some physical, mental, or emotional impairment

of the juvenile or a substantial risk of such impairment as a consequence of the failure

to provide “proper care, supervision, or discipline.” ’ ” Id. (quoting In re Safriet, 112

N.C. App. 747, 752, 436 S.E.2d 898, 901-902 (1993)). Generally, North Carolina

courts have found neglect where “the conduct at issue constituted either severe or

dangerous conduct or a pattern of conduct either causing injury or potentially causing

injury to the juvenile.” Id.
                                 A. Finding of Fact 16


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                                    Opinion of the Court



       In the trial court’s order, it states, “the Court, after reviewing the evidence,

record, testimony and arguments presented, makes the following findings by clear,

cogent and convincing evidence” and lists facts numbered one through twenty. Of

those twenty findings of fact numbers 16 and 18 are at issue. The trial court’s finding

of fact 16 states, in pertinent part, as follows:

              a. Respondent Mother stated that the child was primarily
                 in her care on 1/25/19 and 1/26/19; however, the child
                 was in the presence of other adults during that time
                 frame. That by admission via testimony of the parties,
                 there was alcohol being placed in water bottles. That
                 the mother, along with the child, and at least two
                 additional adults traveled from the State of Georgia to
                 the State of North Carolina while preparing a bottle for
                 the minor child with a water bottle removed from the
                 previous overnight stay.

              b. That the maternal uncle stated that upon returning to
                 the vehicle after the child was admitted to the hospital,
                 he retrieved a water bottle from the backseat, and
                 placing it to his nose, he could smell the odor of alcohol.

              c. That Respondent Parents have made no attempts to
                 remove the child from the paternal grandparents’ care
                 and physical custody.

Respondent-mother concedes the majority of the substance of this finding.

Respondent-mother concedes that Vinny was primarily in her care; that alcohol was

placed into the bottles on Friday, 25 January 2019; that respondent-mother, her

brother, and their grandmother traveled from Georgia to North Carolina; and that

Domico, after Vinny was admitted to the hospital, discovered the smell of alcohol in



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                                   Opinion of the Court



one of the bottles. Respondent-mother does take issue with particular details of these

findings – that it was not “the parties” but respondent-mother’s brother and sister

who testified; that the evidence only supported a determination that alcohol was

placed in bottles on Friday, 25 January 2019, and not any other day; that the evidence

did not support a determination that respondent-mother returned to North Carolina

with anyone other than Vinny, Domico, and her grandmother – but she does not

challenge the fundamental determinations raised therein.

      We likewise hold that there was evidence to support the thrust of each of these

findings in turn. They are, ultimately, a factual recitation of the events of that day.

The issue is not with finding of fact 16, but with the conclusion of law derived

therefrom.

                                 B. Finding of Fact 18

      Respondent-mother contends that finding of fact 18 is actually a conclusion of

law. We agree.

      As a general rule, “[t]he labels ‘findings of fact’ and ‘conclusions of law’

employed by the lower tribunal in a written order do not determine the nature of our

standard of review.” In re Estate of Sharpe, 258 N.C. App. 601, 605, 814 S.E.2d 595,

598 (2018). Thus, “[i]f the lower tribunal labels as a finding of fact what is in

substance a conclusion of law, we review that ‘finding’ as a conclusion de novo.” Id.
      The trial court’s finding of fact 18 states, in pertinent part, that:



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                                    Opinion of the Court



              Based on the foregoing findings of fact, the Court finds that
              the juvenile [Vinny] was a neglected juvenile, within the
              meaning of N.C. Gen. Stat. § 7B-101(15), in that at the time
              of the filing of the Petition, the juvenile did not receive
              proper care, supervision, or discipline from the juvenile’s
              parent, custodian, or caretaker and the juvenile lived in an
              environment injurious to the juvenile’s welfare because
              Respondent Mother allowed the child to be in an
              environment in which alcohol was being poured into water
              bottles and the juvenile later tested positive for a high level
              of alcohol and was subsequently diagnosed with acute
              alcohol intoxication. That the acute alcohol intoxication
              occurred as a result of Respondent Mother using a water
              bottle containing alcohol to make a bottle of formula for the
              child. . . .

“The classification of a determination as either a finding of fact or a conclusion of law

is admittedly difficult. As a general rule, however, any determination requiring the

exercise of judgment, or the application of legal principles, is more properly classified

a conclusion of law.” In re Helms, 127 N.C. App. 505, 510, 491 S.E.2d 672, 675 (1997)

(citations omitted). The first sentence of finding of fact 18 applies the facts of the case

to the statutory definition of “neglected juvenile” and, through that reasoning,

reaches a conclusion that Vinny is neglected.          Consequently, this is more of a

conclusion of law rather than a finding of fact. Indeed, this Court has held that

determinations that a juvenile is neglected are “more properly designated conclusions

of law and we treat them as such for the purposes of . . . appeal.” Id.
       As finding of fact 18, inasmuch as it determines Vinny’s status as a neglected

juvenile, is more properly considered a conclusion of law, we review it de novo, to



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                                   Opinion of the Court



determine whether it is supported by the findings of fact. J.R., 243 N.C. App. at 312,

778 S.E.2d at 443. It is here that the trial court’s analysis falters.

      The trial court did not find that respondent-mother knew, or even reasonably

could have discovered, the danger of alcohol in the bottles. The trial court did not

find that respondent-mother’s behavior fell “below the normative standards imposed

upon parents by our society.” Perhaps most glaringly, the trial court did not find that

Vinny suffered “some physical, mental, or emotional impairment,” or that there was

a substantial risk of the same.

      Instead, the trial court summarily found that Vinny “did not receive proper

care, supervision, or discipline from [his] parent . . . and [that he] lived in an

environment injurious to [his] welfare” based solely on the fact that (1) Vinny was in

an environment where alcohol was being poured into water bottles, and (2) Vinny was

subsequently diagnosed with acute alcohol intoxication. In short, the trial court made

a leap of logic which it did not adequately explain, and which this Court does not

follow.

      To be clear, we do not hold that the trial court could not have concluded that

Vinny was neglected. Had the court engaged in more detailed analysis, offered

additional factual findings, explained what steps respondent-mother could or should

have taken, determined that the danger was in some way foreseeable, or even just

offered more than a token conclusion, we might be able to uphold such a



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                                   Opinion of the Court



determination. But the analysis in this case was cursory and conclusory, at best. The

findings, such as they are, support a determination that a tragic and unfortunate

accident occurred here – an accident which might have been preventable with the

benefit of hindsight, but which respondent-mother had no way of knowing would

occur, nor any means to prevent it, absent some form of precognition. The trial court’s

analysis is simply too cursory to be permitted to stand.

      Upon our de novo review, we hold that the findings of fact in the trial court’s

order do not support its conclusion of law that Vinny is a neglected juvenile.

Accordingly, we remand this order to the trial court. On remand, the trial court shall

either make additional appropriate findings of fact, not inconsistent with this opinion,

to support its conclusion, or properly comport its conclusion to fit the findings it has

already made.

      Because we reverse and remand the trial court’s order, we need not address

the remainder of respondent-mother’s arguments.

      REVERSED AND REMANDED.

      Judge DILLON concurs.

      Judge ARROWOOD dissents in separate opinion.




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 No. COA19-1028 – In re V.M.


      ARROWOOD, Judge, dissenting.


      I respectfully dissent from the majority’s holding reversing the trial court’s

adjudication of neglect. While the majority asserts the trial court’s findings of fact do

not support its conclusion of law that Vinny is a neglected juvenile, I would hold the

trial court did make sufficient findings to support its conclusion.

      As the majority correctly notes, “[i]n general, treatment of a child which falls

below the normative standards imposed upon parents by our society is considered

neglectful.” In re Thompson, 64 N.C. App. 95, 99, 306 S.E.2d 792, 794 (1983). “In

order to adjudicate a juvenile neglected, our courts have additionally ‘required that

there be some physical, mental, or emotional impairment of the juvenile or a

substantial risk of such impairment as a consequence of the failure to provide “proper

care, supervision, or discipline.” ’ ” In re Stumbo, 357 N.C. 279, 283, 582 S.E.2d 255,

258 (2003) (quoting In re Safriet, 112 N.C. App. 747, 752, 436 S.E.2d 898, 901-902
(1993)). Generally, North Carolina courts have found neglect where “the conduct at

issue constituted either severe or dangerous conduct or a pattern of conduct either

causing injury or potentially causing injury to the juvenile.” Id.
      Here, in its finding of fact 18, the trial court found, in pertinent part, that:

             Based on the foregoing findings of fact, the Court finds that
             the juvenile [Vinny] was a neglected juvenile, within the
             meaning of N.C. Gen. Stat. § 7B-101(15), in that at the time
             of the filing of the Petition, the juvenile did not receive
             proper care, supervision, or discipline from the juvenile’s
             parent, custodian, or caretaker and the juvenile lived in an
             environment injurious to the juvenile’s welfare because
                                      IN RE V.M.

                                  Arrowood, J., Dissent



             Respondent Mother allowed the child to be in an
             environment in which alcohol was being poured into water
             bottles and the juvenile later tested positive for a high level
             of alcohol and was subsequently diagnosed with acute
             alcohol intoxication. That the acute alcohol intoxication
             occurred as a result of Respondent Mother using a water
             bottle containing alcohol to make a bottle of formula for the
             child. During the time that the juvenile obtained alcohol
             in his system, he was in the exclusive care of Respondent
             Mother. . . .

The majority asserts that finding of fact 18 is more properly considered a conclusion

of law, and is thus subject to de novo review. “Under a de novo review, [this Court]

considers the matter anew and freely substitutes its own judgment for that of the

lower tribunal.” In re A.K.D., 227 N.C. App. 58, 60, 745 S.E.2d 7, 8 (2013) (quotation

marks and citation omitted). Though the majority contends finding of fact 18 is not

supported by the trial court’s other findings, I disagree.

      The trial court made several findings leading up to its finding of fact 18,

including the following:

             15. That the Petitioner, the Guardian ad Litem,
                 Respondent Mother, and Respondent Father made
                 certain admissions of fact after having ample
                 opportunity to consult with their respective counsel.
                 That a written copy of those admissions was tendered
                 to the Court. That those admissions are as follows:

                    a. The Cumberland County Department of Social
                       Services (CCDSS) received a Child Protective
                       Services (CPS) referral on 01/27/2019
                       concerning the safety of the juvenile[].




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                         IN RE V.M.

                     Arrowood, J., Dissent



       b. On 01/27/19, Respondent Mother took the child
          to Cape Fear Valley Medical Center stating that
          the child had been fussing a lot.

       c. On 1/27/19, the child tested positive for alcohol;
          his ethanol level was 242 mg/dl. The child was
          tested a second time and his blood alcohol level
          was 179. The child was diagnosed with acute
          alcohol intoxication.

       d. Respondent Mother stated that the child was
          primarily in her care on 1/25/19 and 1/26/19.

....

16. That the Court made the additional finding of facts by
    clear, cogent, and convincing evidence as it relates to
    the verified Petition filed on February 18, 2019 and
    sworn testimony provided before the Court on today’s
    date:

       d. Respondent Mother stated that the child was
          primarily in her care on 1/25/19 and 1/26/19;
          however, the child was in the presence of other
          adults during that time frame.           That by
          admission via testimony of the parties, there was
          alcohol being placed in water bottles. That the
          mother, along with the child, and at least two
          additional adults traveled from the State of
          Georgia to the State of North Carolina while
          preparing a bottle for the minor child with a
          water bottle removed from the previous overnight
          stay.

       e. That the maternal uncle stated that upon
          returning to the vehicle after the child was
          admitted to the hospital, he retrieved a water
          bottle from the backseat, and placing it to his
          nose, he could smell the odor of alcohol.



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                                       IN RE V.M.

                                   Arrowood, J., Dissent



                    f. That Respondent Parents have made no attempts
                       to remove the child from the paternal
                       grandparents’ care and physical custody.

(emphasis in original). In finding of fact 18, the trial court summarized its findings

in findings of fact 15 and 16 and applied the law to those facts in order to reach its

determination that Vinny was a neglected juvenile. The majority acknowledges the

trial court’s finding of fact 16 is supported by the evidence. However, it then proceeds

to hold that finding of fact 18, which is based on finding of fact 16 and several of the

trial court’s other findings, is not supported by sufficient findings.

      The majority appears to take issue with the fact that, in its view, the trial court

did not make certain findings, including that: (1) respondent-mother knew, or even

reasonably could have discovered, the danger of alcohol in the bottles; (2) respondent-

mother’s behavior fell “below the normative standards imposed upon parents by our

society[;]” and (3) Vinny suffered “some physical, mental, or emotional impairment,”

or that there was a substantial risk of same. The majority further insists that, “[h]ad

the court engaged in more detailed analysis, offered additional factual findings,

explained what steps respondent-mother could or should have taken, determined that

the danger was in some way foreseeable, or even just offered more than a token

conclusion, [it] might be able to uphold such a determination.” However, this Court

has made clear that, in determining whether a juvenile is neglected, a parent’s fault

or culpability is not a determinative fact. In re A.L.T., 241 N.C. App. 443, 451, 774



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                                       IN RE V.M.

                                   Arrowood, J., Dissent



S.E.2d 316, 321 (2015). In addition, contrary to the majority’s assertions, the trial

court’s findings make clear that respondent-mother’s oversight led to four-month old

Vinny needing to be hospitalized and treated for acute alcohol intoxication. The

evidence in the record also supports this.

      Respondent-mother’s brother and sister both testified that family members,

including respondent-mother’s sister, were drinking liquor and pouring it into water

bottles on Friday during a family gathering at their cousin’s house. Respondent-

mother, who was taking care of Vinny, was also present at the gathering while these

activities were taking place. The next day, on the drive home from the environment

in which alcohol had been poured into water bottles, respondent-mother fed Vinny

formula she prepared using a water bottle taken from such environment. Due to

respondent-mother’s conduct, four-month old Vinny suffered some physical

impairment or injury, namely, acute alcohol intoxication. Notably, when respondent-

mother’s brother smelled the water bottle in question, he was able to detect the odor

of alcohol.   Had respondent-mother been more attentive, she likely would have

noticed that the water bottle had already been tampered with and its contents

smelled like alcohol. Ultimately, this mistake “constituted either severe or dangerous

conduct” which “caus[ed] injury . . . to the juvenile[,]” supporting a finding of neglect.

In re Stumbo, 357 N.C. at 283, 582 S.E.2d at 258.




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                                       IN RE V.M.

                                   Arrowood, J., Dissent



      In finding of fact 18, the trial court’s logical reasoning is clear as it applies the

law to the facts gleaned from its previous findings to determine that Vinny was a

neglected juvenile. I would thus hold that finding of fact 18 is supported by the

evidence and the trial court’s evidentiary findings, and would affirm the trial court’s

adjudication of neglect.

      I would further hold that the trial court did not abuse its discretion in its

dispositional order. Respondent-mother asserts the trial court abused its discretion

when it ordered respondent-parents to submit to random drug screens and a

substance abuse assessment. Pursuant to N.C. Gen. Stat. § 7B-904(d1)(3) (2019),

“[a]t the dispositional hearing or a subsequent hearing, the court may order the

parent . . . [to] [t]ake appropriate steps to remedy conditions in the home that led to

or contributed to the juvenile’s adjudication.” The trial court may also within its

discretion order the parent to “undergo psychiatric, psychological, or other treatment

or counseling directed toward remediating or remedying behaviors or conditions that

led to or contributed to the juvenile’s adjudication.” N.C. Gen. Stat. § 7B-904(c). “For

a court to properly exercise the authority permitted by this provision, there must be

a nexus between the step ordered by the court and a condition that is found or alleged

to have led to or contributed to the adjudication.” In re T.N.G., 244 N.C. App. 398,

408, 781 S.E.2d 93, 101 (2015) (citation omitted). This includes “order[ing] services

which could aid ‘in both understanding and resolving the possible underlying causes’



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                                   Arrowood, J., Dissent



of the actions that contributed to the trial court’s removal [or adjudication].” Matter

of S.G., __ N.C. App. __, __, 835 S.E.2d 479, 486 (2019) (quoting In re A.R., 227 N.C.

App. 518, 522, 742 S.E.2d 629, 632-33 (2013)).

      Though respondent-mother argues the trial court abused its discretion because

there was no evidence of a history of substance abuse or a drug-related parenting

problem, I disagree.     The day after Vinny was diagnosed with acute alcohol

intoxication, respondent-parents tested positive for marijuana. Based on these facts,

the trial court in its adjudication order exercised its discretion to order respondent-

parents to submit to two random drug screens. Respondent-parents tested negative

for those two tests, but refused to submit to a third. At the full dispositional hearing,

respondent-parents admitted that if tested that day, they would test positive for

marijuana. DSS then requested custody of the juvenile based on respondent-parent’s

admissions to testing positive for illegal substances. The trial court denied the

motion; however, evidently sensing a problem with respondent-parents’ inability to

remain drug-free throughout the adjudication and disposition process, it pleaded with

respondent-parents to “[j]ust don’t smoke anymore for the next little bit,” so that their

case could be closed. Because respondent-parents admitted they would test positive

for marijuana, and in light of the adjudication of neglect involving use of another

intoxicant, I would hold the trial court’s order requiring respondent-parents to submit

to additional drug screens and another substance abuse assessment was not “so



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                                  Arrowood, J., Dissent



arbitrary that it could not have been the result of a reasoned decision.” In re T.N.G.,

244 N.C. App. at 408, 781 S.E.2d at 100 (citations omitted). I therefore respectfully

dissent.




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